Case 2:20-cv-13134-LVP-RSW ECF No. 194, PageID.7203 Filed 02/24/22 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                                           X

   TIMOTHY KING,etal,                      )
                                           )      20-CV-13134-LVP-RSW
                Plaintiffs,                )
                                           )
         V.                                )
                                           )      AFFIDAVIT OF
   GRETCHEN WHITMER,et al.                 )      HOWARD KLEINHENDLER
                                           )
                Defendants.                )
                                           ●X



   STATE OF NEW YORK                 )
                                     SS:
   COUNTY OF NEW YORK                )



   HOWARD KLEINHENDLER, under the penalty of perjury, hereby states:


          1.    Pursuant to this Court’s Order, dated August 25,2021 [ECF 172], and

   Judgment dated December 2,2021 [ECF 180], I confirm that I have completed at

   least twelve hours of continuing legal education in the subjects of pleading

   standards (at least six hours) and election law (at least six hours).

         2.     The pleading standard courses, their content and length are set forth in

   Exhibit A. {The Fundamentals ofPleading and Practice in State and Federal

   Court, An Introduction to § 1983 Civil Rights Pleading Practice', Introduction to
Case 2:20-cv-13134-LVP-RSW ECF No. 194, PageID.7204 Filed 02/24/22 Page 2 of 2




  Litigation; Advanced Drafting of Complaints and Answers; Pleadings & Motions;

  Civil Practice & Examples.)

        3.    The election law courses, their content and length are set forth in

  Exhibit B.{Vote by Mail, Early Voting and Digitized Election Administration;

  Gender Parity in the Election Process; Hacking Elections, Cyber Threats,

   Vulnerabilities, and The Way Forward; Election Law.)

        4.    I have personally paid for all of these courses.

        5.    Nothing contained herein shall constitute a waiver of matters under

  appeal from this Court to the United States Court of Appeals for the Sixth Circuit

  per the appeal dated December 3, 2021 [ECF 182].

        6.    My attorney in this matter is Donald Campbell, Esq., of Collins

  Einhorn PC,4000 Town Center, 9^’’ Floor, Southfield, MI 48075. Elis telephone

  number is (248)351-5426 and his Email is: Donald.Campbell@ceflawyers.com.




                                                              Howard Kleinhendler

  Sworn to before me this
  24^'’ day of February, 2022




  Notary Public              PRIG C. 7AGICKI
                      Notary pL;brc              ■'’ow York
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                    Commission Expires Aogo St 5, 20

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